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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UNITED STATES OF AMERICA               )
                                       )      No. 19 CR 567
       vs.                             )
                                       )      Hon. Harry D. Leinenweber
                                       )
DERREL MCDAVID                         )

     REPLY IN SUPPORT OF MOTION TO COMPEL DISCLOSURE OR,
              IN THE ALTERNATIVE, EXCLUDE VIDEO 1

      COMES NOW Defendant Derrel McDavid, by and through his attorneys

Beau B. Brindley and Vadim A. Glozman, and hereby submits the following reply to

support his motion to compel disclosure or alternatively exclude Video 1 (Dkt. 258):

                                   Introduction

      The government’s response confirms Mr. McDavid’s basis for requesting

additional discovery related to Video 1: that they have no idea what video was

shown to the witnesses at the 2002 Cook County Grand Jury or the 2008 Cook

County Trial—the heart of the conspiracy alleged in Count 5. Dkt. 269, pg. 2-3.

They admit it is impossible to tell what video those witnesses were actually shown

at those relevant times. Id. at pg. 3. The government even admits that they received

multiple versions of Video 1 and that some of them are altered and manipulated. Id.

at 2. HSI agents made digitized versions of some of those copies, but did not explain

what versions the agents chose or why those particular versions of the video were

chosen. Id. at pg. 2-3.
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      Glaringly absent from their response is an explanation about who altered the

videos, who provided the alterned versions to them, or how the altered versions

differ from the authentic version of Video 1 shown in the prior State proceedings.

Id. Instead, as has been the case as of late, the government shifts the blame. This

time to the Cook County State’s Attorney’s Office, claiming that it was their fault

for providing them with the videos without labels or exhibit stickers, so there is

nothing the government can now do to identify the original version. In short, the

government claims it is not their fault, not their problem, and not their burden to

explain. Not only is such a position contrary to burden the government assumes in

proving their case against Mr. McDavid, it is contrary to established law.

      Despite the government’s assertion, the original version of Video 1 shown in

the prior State proceedings is essential to the alleged obstruction conspiracy and the

only video that matters to the obstruction charge. Count 5 alleges a conspiracy to

create false documents or records in violation of 18 U.S.C. § 1519, and that five false

documents or records were created. Dkt. 93, pg. 10-11. But the only video that

allegedly led to the false documents was the original version of Video 1, which was

shown to the 2002 grand jury witnesses. Id. For instance, the Superseding

Indictment alleges that Minor 1, Minor 1’s Father, and Minor 5 falsely told the

grand jury that Minor 1 was not depicted on the specific version of Video 1 they

were shown. Id. Thus, Video 1 is the only recording relevant to the actual § 1519

obstruction charge, and the content of that original version is essential. For

example, it does not matter if, as the government anticipates, Minor 1 identifies




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herself on a different version of Video 1 that was not shown in the prior

proceedings. It only matters that the 2002 grand jury witnesses could identify

Minor 1 in the version they were shown, yet falsely claimed it was not her. That is

because the essence of Count 5 – conspiracy to obstruct justice – is not whether

Minor 1 engaged in sexual acts with Kelly on a video, but how Video 1, the specific

version of it at issue in the 2002 grand jury and 2008 trial, caused Mr. McDavid to

act.

       This Court must compel the government to disclose information that

identifies the true and authentic version of Video 1 shown to the witnesses in the

2002 grand jury and the 2008 trial. At its root, the contents of Video 1 are the heart

of Count 5. If the government cannot prove that Video 1 is indeed the recording

shown to grand jury witnesses in 2002, any version of Video 1 must be excluded

from trial because the government cannot establish a sufficient chain of custody or

authenticity. This Court cannot let the old “rotten tomato” spoil this trial.

               Insufficient Chain of Custody and Authentication

       The government must establish a sufficient chain of custody because the

original version of Video 1 is directly connected to the crime Count 5 alleges. See,

Dkt. 269, pg. 6. The false records were allegedly created in response to the specific

version of Video 1 the witnesses were shown at the 2002 grand jury. United States

v. Boyajian, 2012 WL 4094997 (C.D. Cal. 2012) (“If the evidence is an object

connected with the commission of a crime, the government must also establish a

chain of custody, which is sufficient proof that a reasonable juror could find that the




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item is in ‘substantially the same’ condition was when it was seized.”). To be clear,

the government misinterprets the chain of custody and authentication law,

particularly as it applies to Count 5 – they claim there is no chain of custody issue

but rather an authentication one. Dkt. 269, pg. 1. Yet, here, the issues are the same:

Video 1 must be “a true, accurate and authentic” version of that was shown in the

prior proceedings, and establishing “a chain of custody showing that the tapes are

in the same condition” is one way to establish authenticity. United States v.

Thomas, 294 F.3d 899, 904 (7th Cir. 2002). The government’s distinction does not

exist. But, even if it did, the government must establish a chain of custody because

Video 1 is directly involved in the commission of the alleged offense in Count 5, and

the only way that Video 1 can relate to Count 5 is if it was the specific version that

was shown to the witnesses at the 2002 grand jury and 2008 trial, about which they

agreed to make certain purportedly false statements.

      It is not relevant to Count 5 if Minor 1 says that some version of Video 1 that

was not the specific one available in 2002 and 2008 contains images of her and R.

Kelly having sex. It is only relevant to Count 5 if Video 1 is indeed the recording

that was impacting Mr. McDavid, Minor 1, and other witnesses to make certain

statements to a grand jury. The government presently has not disclosed sufificient

foundational evidence to prove that the Video 1 they wish to admit was even

existent at the time of the 2002 grand jury when purportedly false statements were

made. Thus, they cannot prove that the Video 1 they wish to admit is relevant to

the charge they chose to bring in Count 5.




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      For this same reason, this Court must reject the government’s attempts to

skirt its burden of establishing chain of custody by claiming it only matters that

Video 1 contains “child pornography.” Dkt. 269, pg. 4-6. At its core, the government

argues that the specific content of Video 1 does not matter, just that whatever

version of Video 1 they show allegedly depicts general “footage” of Minor 1 engaging

in sexual contact with Kelly. Id. But this is wrong. Count 5 does not allege a

conspiracy to produce or possess child pornography. Instead, it alleges that false

records were created in response to the specific version of Video 1 that was shown to

defendants and witnesses back in 2002 and 2008. Thus, it does not matter that

child pornography laws cover a wide range of “visual depictions.” Id. at 5 n. 4. What

matters is whether the witnesses falsely created records based on the video they

were shown at that time. That is how the government charged Count 5 and they

cannot change it now.

      The crux of Kelly’s defense in the 2002 Cook County case is that the video

tape in question was a fake—i.e. that it was manipulated, altered, and otherwise

unauthentic. Kelly’s attorneys believed this, investigators were hired to invstigate

this, and experts were hired to confirm this. Because that specifc video they were

looking at in 2002 was deemed to be fake based on its specific character and

content, decisions were made on how to proceed with the case. This includes

decisions made by Mr. McDavid. That is why only the recording that was actually

possessed in 2002 and shown to witnesses at that time is critical for Count 5. No

other video could have impacted Mr. McDavid and other witnesses to agree to make




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false records as Count 5 alleged. Any other video, whether completely different or

simply alterred in some other way – and apparantely there are several altered

versions – is irrelevant to Mr. McDavid’s case as he is charged in Count 5 with a

§1519 conspiracy related to purportedly false statements made to the 2002 grand

jury. Any version of Video 1 not available to the 2002 grand jury witnesses is not

relevant to Count 5 and, therefore, not relevant to the case against Mr McDavid.

       Surely Minor 1 is going to testify at trial that she had sex with Kelly on tape

and that the tape she is shown by the government depicts her and Kelly. Her

mother will likely do the same. But this falls woefully short of establishing that the

version she is being shown is the version that could have caused Mr. McDavid to act

and purportedly make agreements with people to lie to a grand jury in 2002 and

thereby make a false records as charged in Count 5. The government’s argument

otherwise, that it only matters that the video is of child pornography, misses the

forest for the trees.

       In this manner, unless the government can establish a proper chain of

custody and produce discovery that does so, this Court must exclude Video 1 from

the trial of Mr. McDavid.1 As the government concedes, it cannot identify or

authenticate which version of Video 1 was the version shown in the prior

proceedings. Dkt. 269, pg. 2-3. The government cannot establish authenticity




1 The government also takes issue with the timeliness of Mr. McDavid’s Motion to Compel Disclosure

or Alternatively Exclude Video 1. Dkt. 269, pg. 1 n.1. However, Mr. McDavid did not learn of the
government’s inability to authenticate the original version of Video 1 until last week. At any rate,
without establishing authenticity under Fed. R. Evid. 901, Video 1 is inadmissible at trial, regardless
if it was addressed in a Motion in Limine or with a contemporaneous objection at trial.


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through Minor 1 or her mother. It is immaterial if they now identify Minor 1 in

whatever version is shown at trial; what matters is what version of the video was

shown in 2002, which could have possibly motivated the actions of Mr. McDavid and

the other witnesses who are purportedly conspiring, based on the video they saw at

that time, to make false statements to a grand jury. See Griffin v. Bell, 694 F.3d

817, 826-27 (7th Cir. 2012) (finding that the proponent of the video, who would

identify himself in the video, could not establish the video itself was authentic).

      Nor can the government establish the foundation for how the video was

made, who made it, and what has happened to the video in the two decades since it

was allegedly viewed. Id. (finding the proponent could not establish authenticity

because he could not “verify if the video had been altered at any time;” the video

had no time or date stamp, and “he could not say how the video was made, or

whether it had ever been altered.”); United States v. Cejas, 761 F.3d 717, 723 (7th

Cir. 2014) (stating to establish video authenticity under Rule 901, “the proponent

should also show that the camera functioned properly, [and] the operator was

competent in operating the equipment[.]”).

      Whatever version of Video 1 the government handpicks to show at trial from

the several unmarked versions they obtained from the Cook County State’s

Attorney’s Office is completely irrelevant to Count 5 – the only Count Mr. McDavid

faces regarding Video 1. The government admits they have no idea what version of

the video they are showing. They do not it was the “rotten tomato” that infected the

2008 Kelly trial or a completely new “rotten tomato” ready to spoil yet another




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prosecution where Mr. McDavid’s due process, and more importantly, liberty is on

the line.

       Such disregard and carelessness by the government must have consequences.

They cannot ignore the need to establish a chain of custody when only one specific

version of Video 1 is at issue in Count 5. They cannot ignore the need to

authenticatethe video they have as that specific video. They cannot be allowed to

show a video at trial, claiming it was the one shown to witnesses in prior

proceedings without knowing if what they are offering is actually what they claim it

to be, especially when the contents, quality, and manipulation of the video were

central to the charges. The government must produce the requested discovery to

establish that this is an authentic version of the Video 1 that was shown at the 2002

Cook County grand jury. Otherwise, the video they intend to introduce into evidence

at trial must be excluded. There are no other fair or just solutions.

       WHEREFORE, Defendant Derrel McDavid respectfully moves this Court to

order disclosure of the items detailed above, or alternatively, exclude Video 1

completely.

                                        Respectfully submitted,

                                        /s/ Beau B. Brindley
                                        An Attorney for Derrel McDavid

                                        /s/ Vadim A. Glozman______
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